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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9   UNITED STATES OF AMERICA,
10                Plaintiff,                             Case No. CR03-493L
11         v.                                            ORDER DENYING DEFENDANT'S
12                                                       MOTION TO DISQUALIFY DEFENSE
     GARY WILLIAMS, et al.,                              COUNSEL FOR GARY WILLIAMS
13                Defendant.
14
15        This matter comes before the Court on the Motion to Disqualify Bob Leen as Defense

16 Counsel for Gary Williams (Dkt. # 345) filed by defendant Lorraine Cravens. Ms. Cravens
17 claims that she had been previously represented by Bob Leen, who is now counsel for Ms.
18 Cravens' co-defendant, Gary Williams. Ms. Cravens filed this Motion when she anticipated that
19 she would be called to testify against Mr. Williams at his sentencing hearing. Ultimately, Ms.
20 Cravens was never called testify, however, and any potential conflict was avoided. Accordingly,
21 Ms. Cravens' motion is DENIED.
22        DATED this 22nd day of April, 2005.

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25
                                                   A
                                                   Robert S. Lasnik
                                                   United States District Judge
26
     ORDER DENYING DEFENDANT'S
     MOTION TO DISQUALIFY DEFENSE
     COUNSEL FOR GARY WILLIAMS
